Case 17-43040-rfn13 Doc 123 Filed 11/26/18              Entered 11/26/18 14:27:35         Page 1 of 3




                           UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

In re:                                                      Case No. 17-43040-ELM
         STEPENIA PEYTON

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Tim Truman, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 07/27/2017.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 08/06/2018.

         6) Number of months from filing to last payment: 9.

         7) Number of months case was pending: 16.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $127,424.58.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (9/1/2009)
Case 17-43040-rfn13 Doc 123 Filed 11/26/18                 Entered 11/26/18 14:27:35               Page 2 of 3




Receipts:

        Total paid by or on behalf of the debtor         $11,700.00
        Less amount refunded to debtor           $8,092.06

NET RECEIPTS:                                                                                      $3,607.94


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                  $2,500.00
    Court Costs                                                                $0.00
    Trustee Expenses & Compensation                                          $952.42
    Other                                                                    $155.52
TOTAL EXPENSES OF ADMINISTRATION:                                                                  $3,607.94

Attorney fees paid and disclosed by debtor:                 $1,000.00


 Scheduled Creditors:
 Creditor                                     Claim           Claim            Claim       Principal      Int.
 Name                               Class   Scheduled        Asserted         Allowed        Paid         Paid
 CAPITAL ONE AUTO FINANCE       Unsecured     13,888.00              NA              NA            0.00       0.00
 CONVERGENT ENERGY & POWER      Unsecured         697.00             NA              NA            0.00       0.00
 CREDIT CONTROL SERVICES        Unsecured         684.00             NA              NA            0.00       0.00
 CREDIT SYSTEMS INTL INC        Unsecured         356.00             NA              NA            0.00       0.00
 LVNV FUNDING LLC               Unsecured            NA           389.94          389.94           0.00       0.00
 PRA RECEIVABLES MANAGEMENT     Unsecured         793.00             NA              NA            0.00       0.00
 PROFESSIONAL DEBT              Unsecured      1,591.00              NA              NA            0.00       0.00
 SYNERPRISE CONSULTING SERV     Unsecured         173.00             NA              NA            0.00       0.00
 TARRANT COUNTY TAX COLLECTOR   Secured              NA         1,926.31        1,926.31           0.00       0.00
 TARRANT COUNTY TAX COLLECTOR   Secured              NA           425.83          425.83           0.00       0.00
 TEXAS CHILD SUPPORT            Priority     112,369.00      113,475.52       113,475.52           0.00       0.00
 TXU ENERGY                     Unsecured      1,060.00              NA              NA            0.00       0.00
 USMD HOSPITAL AT ARLINGTON     Unsecured      7,321.00              NA              NA            0.00       0.00
 WELLS FARGO HOME MORTGAGE      Secured       65,151.00       65,151.00             0.00           0.00       0.00
 WELLS FARGO HOME MORTGAGE      Secured              NA         2,286.00        2,286.00           0.00       0.00
 WELLS FARGO HOME MORTGAGE      Secured       11,000.00              NA              NA            0.00       0.00




UST Form 101-13-FR-S (9/1/2009)
Case 17-43040-rfn13 Doc 123 Filed 11/26/18                Entered 11/26/18 14:27:35          Page 3 of 3




 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00                $0.00            $0.00
       Mortgage Arrearage                                 $2,286.00                $0.00            $0.00
       Debt Secured by Vehicle                                $0.00                $0.00            $0.00
       All Other Secured                                  $2,352.14                $0.00            $0.00
 TOTAL SECURED:                                           $4,638.14                $0.00            $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                            $0.00                $0.00            $0.00
        Domestic Support Ongoing                        $113,475.52                $0.00            $0.00
        All Other Priority                                    $0.00                $0.00            $0.00
 TOTAL PRIORITY:                                        $113,475.52                $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                                $389.94                $0.00            $0.00


Disbursements:

         Expenses of Administration                             $3,607.94
         Disbursements to Creditors                                 $0.00

TOTAL DISBURSEMENTS :                                                                        $3,607.94


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 11/26/2018                             By:/s/ Tim Truman
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
